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                       UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF WEST VIRGINIA
                               AT CHARLESTON


VANESSA H. TAYLOR, Personal
Representative of the Estate of
Joseph A. Savage, deceased,

             Plaintiff,

v.                                           Civil Action No. 2:19-cv-00770

SETHMAR TRANSPORTATION, INC.,
SUNSHINE MILLS, INC., FREIGHT
MOVERS, INC., Z BROTHERS
LOGISTICS, LLC, and ALISHER
MANSUROV,

             Defendants.


                                     ORDER


             Pending is defendant Sunshine Mills, Inc.’s motion to

dismiss the amended complaint, filed March 20, 2020.


             On May 6, 2020, Sunshine Mills, Inc. (“SMI”) filed a

notice of withdrawal of its motion to dismiss the amended

complaint and accompanying memorandum of law in support thereof.

That same day, plaintiff and SMI filed a stipulation of

dismissal pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules

of Civil Procedure.       The stipulation provides that SMI is

voluntarily dismissed with prejudice and that SMI dismisses with

prejudice any claims or crossclaims which were or could have

been asserted in this action against the remaining defendants.
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          Accordingly, the court ORDERS that SMI’s motion to

dismiss the amended complaint be, and it hereby is, dismissed

from the court’s docket, and that SMI be, and it hereby is,

dismissed from this action.


          The Clerk is directed to forward copies of this order

to all counsel of record and to any unrepresented parties.

                                              ENTER: May 7, 2020




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